We have one remaining case on this morning's docket, and it is the case of Robert and Dianne Pierce v. Keswick Subdivision Homeowners Association. We have Mr. Timothy Bates for the appellant and Mr. Douglas Brinke for the appellate. You may begin when you are prepared to do so, Mr. Bates. Thank you. It's kind of a funny thing when you run a small practice. You think you can somehow select your clients and you can select your cases, and I've certainly tried to do that, relative to staying within the field, which I have found to be the most enjoyable construction. But every once in a while a client sneaks in with a claim and you just don't see the end of the game and you don't see the result of and you don't understand why the client has such emotional attachment to. And this is one of those claims that kind of snuck into the office. I didn't really understand the claim at first, and it took me a couple of years to really understand what the Pierce's were telling me and continue to tell me to this day. And that is that they have essentially lost a very valuable right that they never intend to lose, and that's what this case is about. I think in the brief I mentioned in the line that there seems to be a feeling by the defendant here, the homeowners association, that some government, even though it may be poorly conceived and poorly constructed, is better than no government at all. And I think that's the wrong place to start with a case like this. I think the way to start with a case like this is to ask is there a need for this government and was this government something that the people in the subdivision wanted. It's hard to kind of restrain myself from getting kind of dramatic here, but ultimately it's about freedom in this case, and it's about the Pierce's ability to be free from unnecessary regulation and unnecessary intrusion in their private lives and in their private home. Factually, I think the case is an interesting one, as the court can see from the record. The Pierce's bought into the subdivision knowing that there were going to be restrictions on the manner in which the homes could be constructed, the ways that the homes could be used, and even their conduct outside of their homes, what kinds of things they could put in their backyard, whether they could have a fence, and where their trash cans were supposed to be placed at night, and how quickly they had to be picked up after they were retrieved by the sanitation truck. But there was also a promise made to them by the developer, Chris Pagano, that the homeowners association would be run like a government and that it would be run through the use of a not-for-profit corporation and that it would be turned over to the homeowners at the appropriate time and place. And as the record clearly establishes, that never took place. We have some transitions from Pagano to some homeowners at some point in time. We have one meeting where the meeting was called short because a number of homeowners were unhappy, but it's confusing because some of the homeowners who expressed the unhappiness with the not-for-profit being formed were in fact listed as members of the board with a not-for-profit. We have a second homeowners association that meets for one meeting a month later, and nothing seems to take place as a result of that. And then finally we have a longer-term voluntary association that comes into place, and they exercise power for about three years until they too finally see the wisdom of incorporation. They knew there was going to be a homeowners association formed when they... They knew that there was a potential for that, absolutely. And you think that there's a requirement that the state of Illinois recognize that homeowners association as a corporation before it has any authority to act? No, the restrictions themselves require it. That was part of the promise that was made by the developer to them, that it would be run by a not-for-profit corporation. But they have no authority until it was recognized by... That's our position. And again, I think it's clear from the Condominium Act, which seems to apply at least into a limited circumstance, that there is a way that power is supposed to be obtained, that there's supposed to be notice to all the homeowners, in this case 51 homeowners, there's supposed to be an opportunity to talk about who you want to lead and how you want the association to be led, and how business is going to be transacted. From my review of the minute records, which are part of the court record, not one time was there ever a vote taken where 27 or 26 of the 51 homeowners ever said, we want this to happen. At one point, 17 homeowners approved the action. The problem, of course, is that none of the formalities were ever followed. At no time was there ever agendas pre-published, as we can see. At no time was there ever discussion about how this organization should take place and how it should take part. One of the key factors, I think, here for the Pierces, is the reality that as a voluntary association, they didn't have the protections that would have been available to them as a not-for-profit corporation. As a voluntary association, each member becomes liable under the law, much like a partnership. As a voluntary association, they have no power to sue or to be sued, but as a not-for-profit corporation, they have all those rights and privileges. The testimony was that there had never been a tax return filed in the entire time of its existence. The testimony was that the treasurer didn't even know he was supposed to segregate funds in accordance with both the Condominium Acts and the internal bylaws that were purportedly adopted, but we never were able to find a complete set. Did your client try to get any other homeowners to join with him? I think there had been some discussion there. I think most of the folks that felt sympathetic to what the Pierces were saying simply chose not to get involved and stayed home, and felt that they needed to pay their $75 a year to contest the legitimacy of this group. So the answer is yes, he tried to get other people to join him, but they wouldn't do it. So presumably they're paying for public counsel's representation? Absolutely the case. That's right, part of the assessments that are being made is to cover for that expense. I think the record is clear, too. The Pierces made several attempts to communicate their concerns to the board or whatever it was that was trying to control the subdivision, and at any time the people who sought control, who sought to have the Homeowners Association in existence could have simply called a formation meeting and could have said, look, at this meeting we're going to either validate our prior acts or we're not going to go forward. That meeting never took place either. Instead there was this bullheaded attitude of, we're legitimate, and if you don't like the fact that we're legitimate, whoops on you. Maybe the first time that word was ever used in this court, I'm sorry. But the reality is that there was never any attempt to comply with any of the regulations, any of the bylaws, or even the own restrictions that were placed on this property to begin with. The Pierces are not stupid people. Mr. Pierce is an educator, Mrs. Pierce is a home researcher. She has a small-based business that she provides information to other people. And this ultimately came down to a question of, are we just going to sit by and ignore what we know to be true, or are we going to tell people it's not fair, it's not right? Ultimately, if this court says it's time to start over, it's time to go back and follow the rules that apply here, the Pierces will be part of the process, and they will advocate either for no government or they'll advocate for a government that complies with both the state and the law. Do you think this court has jurisdiction? Absolutely this court has jurisdiction. Do you think the notice of appeal was filed timely? I do think the notice of appeal was filed timely, Judge. I know that Mr. Grimke is going to spend some time arguing it, but I provide the court with an affidavit that describes the circumstances of what happened. How did he get a filed copy? That's what bothers me. From the clerk's office two days, presumably, after you mailed it. That's what I don't understand. And there's no explanation that I could see in your affidavit. Judge, I don't know how many copies Mr. Grimke has. I know that what I did that night was I was sick with the flu, I came in, I realized it was after closing hours, and I put a copy of the notice of appeal in the mail to Mr. Grimke's office. That was file stamped two days in the future. The one that I sent could not have been file stamped, Judge, there's no question about it. But that's not to say my secretary or my assistant didn't send him an additional copy after I got my return copy from the clerk's office. And can you explain why the clerk's office would not have a transmittal letter? Did you send the clerk a transmittal letter with a notice of appeal? I don't think I did, Judge. You just sent a notice of appeal with nothing, no transmittal letter or information letter at all? Judge, under these circumstances, I literally was feeling like I was feeling terrible, and I really just wanted to get the minimum done so I could get home and go back to bed. And I did not think a transmittal letter was required by the laws, by the rules, and I certainly don't see that there was one. Well, there's certificate of service that's required by Supreme Court Rule 12. That wasn't part of the notice of appeal also, right? That is true, Judge. Okay. I mean, I do agree with that. In that regard, the court gave me an opportunity to supplement the record, and I appreciate that opportunity. But I do believe that my notice of appeal was timely filed because I did place it in the mailbox at the corner of the courthouse. I have a specific recollection of that. So, again, I'm not saying that... So when Post and Counsel says that the notice of appeal he got, it was file stamped on the 26th of September, he's misinformed. I don't know that he didn't receive a second from my assistant who works with me part-time. I don't know that he didn't go to the courthouse and obtain a second copy. I don't know. But I can tell you that the one that was sent to Mr. Gronke that night, along with a copy to the clerk of the court, could not have had a stamp on it. That I know. Yeah. It would be physically impossible. That's correct, because it wasn't mailed until I think in the affidavit I put down 530 or 6 o'clock that evening. But that's what happened. Well, the clerk wouldn't file something two days before it received? No. I mean, the clerk... The reality is that the post office there in Billable is about a block from the courthouse, so I put in the mailbox that the postman picks it up and delivers it to the courthouse the day or the following day. In fact, I think the postal box there gets picked up after 430 or 5 o'clock. I'm not sure. So the clerk took my copy that I mailed to them and file stamped it, put it in a file, and got a second copy. But I know that it was mailed on the day that I say it was mailed, and I know that Mr. Gronke's was mailed the day that it was mailed. But not the one that he's provided the court with? I can't. I don't know where that one came from, Judge. I don't know if the second copy was sent to him as a courtesy or if he went to the clerk's office and picked up a copy. I don't know. But surely there is a file stamped copy in the court file that is the file stamped copy. So I understand the difficulty that I placed the court in by not having a little bit better evidence of my compliance with the regulations. But I set forth the facts as I know them to be true. Assuming we get over that burden, obviously what I'm asking the court to do is to look at this case a little bit more closely than Judge Gleeson did below. I was concerned that Judge Gleeson seemed to focus on the monetary issue of $150 being the issue in controversy. And the truth be told, that wasn't really the issue in controversy. The issue in controversy is the fact that there was an absence of any sort of legitimacy to the homeowner's association. I think the record is fairly clear with regards to that. And with that, I'll end my argument. Do you have the opportunity to rebut, Mr. Bates? Yes, ma'am. Mr. Grimsey? Good morning. Good morning. May I please have the floor, Mr. Bates? My name is Doug Grimsey, and I represent the Appellee-Keswick Subdivision Homeowners Association this morning. And we're going to request that you affirm the ruling of the trial court and uphold the lien that's been placed on the plaintiff's property. I'm going to discuss a couple of points this morning and hopefully be able to leave the remaining points to my brief, unless, of course, the court has any questions. The first item that I do want to talk about is going to be whether this court has jurisdiction over this matter. The law is very clear with elements of Supreme Court Rule 303 that the notice of appeal has to be filed within 30 days. There are some exceptions to that, one being the mailbox rule. However, if you try to take advantage of the mailbox rule, there has to be a notice of mailing that is sent along with that, pursuant to Supreme Court Rule 12. And that notice of mailing isn't just a typical certificate of service, but in fact it says that the document was filed with the circuit clerk's office on a particular date by dropping it in the mail. That wasn't done in this case. I believe when I filed my initial motion to dismiss for lack of jurisdiction, I attached the notice of appeal that was received. It was file stamped. Why doesn't the opposing counsel's affidavit cure that defect in Rule 12? Well, because it doesn't take into account when he mailed it. I think I actually attached to my motion to dismiss his cover letter to me, dated September 25th, and his cover letter to me said that his clients have now reconsidered and they were filing an appeal, and please sign and close the copy of the notice of appeal. And so he sent it to me on September 25th, and it was file stamped September 25th. There was no previous transmittal. Otherwise, in the previous transmittal from him, he would have said that his clients have reconsidered, and here's their notice of appeal, although it may not be file stamped. And Your Honor is correct in that it could not have been file stamped prior to being filed. And so when I received the file stamped copy on September 25th from him, it had already been filed with the court. I didn't receive a copy that was not file stamped, as I've just explained through the original transmittal letter. In addition, there was no transmittal letter from Mr. Bates in the file. You will see other transmittal letters in the file from when I've sent in pleadings to the court. I believe there's also one other one in there from when Mr. Bates had sent something to the court. There was a transmittal letter in there. And so the inference here is that it wasn't mailed at all. In fact, it may have been hand filed or it was mailed a day later and he sent me the late copy. But regardless, he hasn't shown that this court has jurisdiction over this matter. And so if the court doesn't have jurisdiction, the rest of the matter is yours. Could an affidavit filed by an attorney that's claiming the mailbox rule cure an otherwise defect in Supreme Court Rule 12? I don't believe it can. After the fact. I don't believe it can. The Supreme Court Rule 212, I believe, provides two ways for the proof of mailing. One is by an attorney, and I believe that an attorney at that point doesn't even have to be sworn to. The other is by an affidavit. The case that was cited, the Superior Insurance Company, that was cited really by both sides, was a 2009 decision by the Illinois Supreme Court. And in that case, we have similar facts. There was a notice of filing – or the notice of appeal was filed. It was untimely filed. And in that case, really there wasn't an affidavit that was done after the fact. And the court said, look, you didn't even try to correct it. Mr. Bates didn't even try to correct it until such time that a motion to dismiss was filed. And the court said, hey, why don't you file this affidavit? Mr. Bates didn't even try to correct it after the motion to dismiss was filed. The Security Insurance case still doesn't even say that that would have corrected it. They don't have that before them because there was no attempt that was made. And so to this point, I don't believe – You only have 30 days to file a request for a late notice of appeal? Well, you could do that. Sure, you could certainly do that. But this was beyond the 30 days, obviously. Correct, correct. And even if you try to request additional time, that request has to be filed before your deadline. It can't be filed after and say, hey, I need an extension of time. Your motion for extension of time has to be filed before your deadline. One of the other items I'd like to discuss is the standard of review in this case. There was one standard of review that was posed by my brief, and there was another standard of review that was posed in the appellant's reply brief to mine. There was no initial standard of review that was posed to the court in the appellant's brief. And, in fact, the Padronos v. Everin securities case sets forth a standard of review that has to be held in these types of situations. This case was – there was a judgment was entered pursuant to Section 2-1110 of the Code of Civil Procedure. And as the court knows, one of those motions is when a bench trial is held and the plaintiff's case in chief is closed, a motion can be made on the evidence that's already been submitted. There's a two-part analysis that's set forth in the Padronos case. The first step is you have to look at whether the court found if there was a prima facie case. If the court found that there was no prima facie case, then that decision is reviewed de novo. However, if the court reaches the second part of that two-part test, then the decision of the trial court is not reversed unless the ruling is contrary to the manifest way of the evidence. And that case, the Padronos case, also states that if the court considers the evidence, it talks about the evidence. If it considers the evidence, then the trial court has already engaged in that second part. In this case, there were specific findings of fact that were made by the trial court. The trial judge, some of the findings would have included that the property had restrictions on them. The plaintiffs knew that they were subject to the restrictions, knew that they were bound by the restrictions. The trial court even found that the plaintiffs benefited from this homeowners association and the restrictions. The trial court found that they could have participated and chose not to. Also, the trial court found that this association was in existence at the time it was exercised in this authority and that it was later ratified. So there were specific findings that were made by the trial court based on the evidence. And so I submit to you that the standard of review that you will entertain is that the judgment should not be reversed unless it's contrary to the manifest way of the evidence. All right, let's talk about the language now, Mr. Trial Judge. The trial judge says it didn't have to be incorporated. But the restrictive covenants say that the home association shall be defined as a not-for-profit corporation and shall be formed in sufficient time to accept the rights and duties conferred upon it. That's correct, Your Honor. And I will point to you that the home association in Section 30, Paragraph 30 of the restrictions, says the home association shall be defined as a not-for-profit corporation to be formed. Right. So the home association is already there. But you've got to read the next slide. To be formed in sufficient time to accept the rights and duties conferred upon it. That's correct. And it doesn't have to be incorporated in order to accept those duties. There's nothing that the statute. So the home association doesn't have to be incorporated in sufficient time to accept the rights and duties. That's how you're reading that. Well, there's really. It just has to be formed. Correct. It has to be formed. And there's nothing, there's really no authority that it has once it's incorporated that it didn't previous, except maybe the right to be sued and to sue and so forth. But there is no authority that it was exercised prior to its incorporation that it gained by incorporating it. Did your firm incorporate the association? We didn't. Okay. That was maybe part of the, not that the lack of our firm's participation would contribute to the problem. But this was, as the trial court said in the trial, this was a group of homeowners that was trying to get it right. And there was initially the homeowner association or home association that was created by one gentleman that was friends with Mr. Pagano. He's a resident out there. It was, he took it upon himself to try to create the association. When that was dissolved by him, the remaining homeowners stepped up and created this new one. And there was a huge misunderstanding with the Secretary of State's office. They were saying the name is too close. We can't do it. So these homeowners were continually trying to get it incorporated. And finally they just said, you know what, we're just going to start over. And so that's when they were able to finally get it incorporated in 2006. It's interesting to note also that if Mr. Bates is correct, which I don't believe that he is, that the Condominium Act applies to this case. The Condominium Act doesn't even require that the Board of Governors of the Condominium Association be incorporated. The language in the Condominium Act says that they may create a not-for-profit corporation. And so I think the argument that they have to be incorporated in order to exercise these authorities is baseless. The trial court found correctly that an unincorporated association has these authorities and can properly govern them in that manner. The argument that it's not subject to the Condominium Association is twofold. Dale went forth to define a condominium as an interest in real estate created by statute that gives each owner an interest in an individual unit and an undivided interest in a common element. In this case, they weren't created by statute. This was just a typical run-of-the-mill subdivision that was recorded. There was no requirement that it be created by statute, and to think that a run-of-the-mill subdivision should be required to be created by statute would be an absurd ruling. The plaintiff also argues that Section 9-102 of the Code of Civil Procedure, which I would point out to you is part of the Forcible Injury and Detainer Act, defines a condo – or makes a condo act applicable – some of these definitions applicable to the Condominium Act. One is common interest community. And a common interest community as defined by Section 9-102 applies when a person owns a partial interest in unit in real estate and obligated pay maintenance improvements, etc. There has been no evidence submitted here that there was any partial interest of anything. In fact, the homeowners all owned their own piece of property. There was no evidence submitted by the plaintiff that their deeds gave them anything other than a fee-simple interest in their own property. There were no partial interests conveyed. There were no units – separate units conveyed. I would also argue that it's not a unit, the plaintiff argues. A unit is defined as a fiscal portion of a common interest community designated by separate ownership by boundaries, which are described in a declaration. Well, that would be expected in a condominium declaration, but not in a homeowner's association declaration or restrictions. The restrictions that are recorded on this property, in fact, did not have any legal descriptions. They did not have any unit numbers. If it was in fact a condominium, you would expect to see those types of things. When a condominium declaration is recorded, you typically would have a large parcel of property that, let's just say, is Lot 1. And you may own Lot 1A, and your neighbor may own Lot 1B. And so forth. And so you would have these individual descriptions, legal descriptions, if you will, of each piece of property that they own. And in fact you don't have that here in these declarations. And so it's not a unit. And to accept this argument that a homeowner's association that had – or a subdivision that has a homeowner's association is subject to the Condominium Act would reverse a lot of homeowner's associations and subdivisions at this point. It would create an absurd result because the Condominium Act in itself requires that when you record a plat that's a condominium, it be defined as – or it be named condominium. And so in this fact we have Keswick Subdivision Condominium Association. And in fact that's not what it is. The reason that there are these other definitions for a common interest community is because in this day and age we have subdivisions with villas. You may have a duplex where a person owns – two people own a different site. And the subdivision itself is a common area, and you own one piece of a duplex or you own one villa. And they would have a board of governors or a homeowner's association that would be responsible for the maintenance, the improvements, and so forth. And so that's why there are – the law allows other items to be included in the Condominium Act other than what we would typically consider as a condominium. So I think the court understands my arguments. If you have any questions, I will certainly entertain those. Other than that, I appreciate your time. And again, I ask that you do uphold the trial court's ruling and uphold the leniency for the replacement plan as a property. Thank you very much. Thank you, Mr. Kronsky. Mr. Bates, do you have a rebuttal? Just a couple short comments. I think it's important that we understand that the court has to look at all the sources of how this homeowners' association is supposed to work for the benefit of the homeowners. It is – you start with the restrictions, you then go to the statute, and then you go to the bylaws that would be in place that were adopted by the homeowners' group itself. The problem that we have is that the bylaws that may or may not be in place, we're not sure. There's no real record of them ever being adopted at a meeting where more than a majority of the homeowners were present. The other issue is that the Walensky case seems to indicate that when you serve in a position of leadership in a homeowners' association or a condominium association, you do have a fiduciary obligation to the people within that association. I think that the refusal to come back and try and get their house in order is evidence of their refusal to show faithfulness and loyalty to the people that they were intending to, in some extent, rule over. I think that the best result here is for the court to simply say, look, there's no – nobody's intending any failure. I'm not saying anybody did anything out of malice or with any bad purpose in mind, but for the protection of everyone, it's best that the rules be followed. And go back and have your formation meeting now. If you want to adopt the actions you took in the past, that's fine. You're allowed to do that. We do that all the time in contract law. But you have to do it step by step and give people notice and give them the right to have a debate and give them the right to actually have the speech that they're entitled to as a citizen of the association or a citizen of that community. I know the court has to be bothered by the issue of the notice of appeal. You've obviously raised it. I myself would certainly do things differently today than I did back then, including the proper certificate of service, but I did go back and look at what I had done on a certificate of service here. And I can only tell you that in the 20-plus years of practicing law, I have tried to be consistent and show integrity with regards to the things I've done. I do recall specifically being ill that day. I do recall specifically taking this thing, going to the office and preparing a notice of appeal. It's a simple document. And I didn't follow completely the rules of Supreme Court Rule 12 with regards to the mailing notice. But I know what I did, and I stand by my affidavit. I think the ultimate goal of the Supreme Court rules is to ensure that the parties are heard, and that's ultimately what we're asking for today. Thank you. Thank you, gentlemen, both of you, for your briefs and arguments. We'll take the matter under advisement.